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12                                  UNITED STATES DISTRICT COURT
13                             NORTHERN DISTRICT OF CALIFORNIA
14                                     SAN FRANCISCO DIVISION
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16   John J. Hurry and Justine Hurry, as husband and    Case No. 17-CV-80026-MISC-LB
     wife; Investment Services Corporation, an
17                                                      (D. Ariz. No. 14-cv-04420-NC)
     Arizona Corporation, BRICFM LLC d/b/a
18   Corner of Paradise Ice Cream Store, a California
     Limited Liability Company,                         [PROPOSED] ORDER RE: MOTION TO
19                                                      QUASH SUBPOENA ISSUED FROM A
                               Plaintiffs,              CIVIL CASE PENDING BEFORE THE
20                                                      UNITED STATES DISTRICT COURT FOR
            vs.                                         THE DISTRICT OF ARIZONA AND
21                                                      SERVED ON NON-PARTY JOURNALIST
     Financial Industry Regulatory Authority, Inc.,     WILLIAM MEAGHER
22
                               Defendant.               Assigned to: Magistrate Judge Laurel Beeler
23                                                      Motion Filed: February 28, 2016
                                                        Hearing Date:
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     [PROPOSED] ORDER
     Case No. 17-CV-80026-MISC-LB
          Case 3:17-mc-80026-LB Document 5 Filed 03/01/17 Page 2 of 2


 1          Pursuant to the Motion of William Meagher, and for good cause shown, it is hereby
 2   ORDERED that Mr. Meagher’s Motion to Quash the subpoena issued from Hurry v. Financial
 3   Industry Regulatory Authority, Inc., 14-cv-04420-NC (D. Ariz.) and dated February 14, 2017,
 4   which seeks to compel oral testimony and written documents from Mr. Meagher, is GRANTED.
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 6          IT IS SO ORDERED.
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 8   Dated: ________________, 2017
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                                                Hon. Laurel Beeler
11                                              United States Magistrate Judge
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     [PROPOSED] ORDER
     Case No. 17-CV-80026-MISC-LB
